Case 1:14-ml-02570-RLY-TAB Document 19825 Filed 09/02/21 Page 1 of 1 PageID #:
                                 123228


                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION



 In Re: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2570


 This Document Relates to:

 Brenda I. Melendez 1:21-cv-06407-RLY-TAB



                                           ORDER
       Upon consideration of the Plaintiff’s Motion for Leave to Amend Short Form Complaint (Dkt.

19803), it is found that good cause is shown. Therefore, it is so ordered that said motion is

GRANTED.

       THEREFORE, the First Amended Short Form Complaint attached to this Order is hereby

deemed filed. The Clerk of the Court is directed to file the Amended Short Form Complaint into the

record in this matter.

        Date: 9/2/2021
                                           _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana




Distribution to all registered counsel of record via ECF.
